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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                  11/15/21
  United States of America,

                 –v–
                                                                   20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                        ORDER
                        Defendant.


ALISON J. NATHAN, District Judge:

       Attached is a copy of the final jury questionnaire, which is the same as Dkt. No. 365,

docketed on October 22, 2021, except that it incorporates the redline changes.

       SO ORDERED.



 Dated: November 15, 2021
        New York, New York                      ____________________________________
                                                          ALISON J. NATHAN
                                                        United States District Judge




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FINAL                                                                   Juror ID: __________


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------   X
                                                                    :
UNITED STATES OF AMERICA                                            :
                                                                    :
             -v-                                                    :    20 Cr. 330 (AJN)
                                                                    :
GHISLAINE MAXWELL,                                                  :       JURY
                                                                        QUESTIONNAIRE
                                                                    :
                                    Defendant.                      :
                                                                    :
-----------------------------------------------------------------   X



                                      INSTRUCTION SHEET


Dear Juror:
Please call (212) 805 0158 on November 15, 2021 after 6:00 p.m. for further
reporting instructions. Please bring this instruction sheet with you to the
courthouse if you are instructed to return.




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[INSERT JUROR INFORMATION SHEET FROM JURY DEPARTMENT]




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                          PRELIMINARY INSTRUCTIONS

Please read the following instructions carefully before completing any portion of this
questionnaire. Please print your juror number in the space provided at the top of each page.
Do not write your name on the questionnaire. Please answer each and every question fully.
Some questions have more than one part.

YOU ARE SWORN TO GIVE TRUE AND COMPLETE ANSWERS TO ALL
QUESTIONS IN THIS QUESTIONNAIRE. This questionnaire is designed to help simplify
and shorten the jury selection process. The purpose of the questionnaire is to determine
whether prospective jurors can decide this case impartially based upon the evidence presented
at trial and the legal instructions given by the presiding judge. The questions are not intended
to inquire unnecessarily into personal matters. Although some of the questions may appear to
be of a personal nature, please understand that the Court and the parties must learn enough
information about each juror’s background and experiences to select a fair and impartial jury.

Please answer all questions to the best of your ability. If you do not know the answer to a
question then write, “I don’t know.” There are no “right” or “wrong” answers, only truthful
answers. If you have strong feelings about this case in general, please do not hesitate to share
them. Although you may be a perfectly good juror in another case, this may or may not be the
right case for you to sit on as an impartial juror. Both parties have the right to get honest
answers and to hear your true opinions. Do not discuss the case or your answers with anyone.
It is important that the answers be yours alone. Remember, you are sworn to give true and
complete answers to all questions.

If you need extra space to answer any question, please use the extra blank sheets of paper
included at the end of the questionnaire. Be sure to indicate on the blank page the number of
the question you are answering. Do not write anything on the back of any page.

DO NOT DISCUSS YOUR QUESTIONS AND ANSWERS OR THE CASE WITH
ANYONE, NOW OR UNTIL FURTHER INSTRUCTED BY THE COURT. You should
not discuss the questions or answers with fellow jurors. It is very important that your answers
be your own individual answers. More broadly, do not discuss the case with anyone, including
the lawyers (except in the presence of the Court), your fellow jurors, your family, your friends,
or anyone else. Do not communicate about the case in any way, including telephone, e-mail,
any social media app or website (such as Facebook), any communications app or website (such
as Twitter). You must also avoid reading or hearing about the case (or anyone participating in
the case) in newspapers, in magazines, on the radio or television, or on the Internet.

DO NOT DO YOUR OWN RESEARCH ON THE CASE. Do not conduct any research
into the case (or anyone participating in the case) at any time before your entire jury service
has been completed. That includes performing Internet searches, asking other people about
the case, reading news stories, books, or reports about the case, or watching films or television
programs that relate to the case. Do not read, watch, or listen to any information about this
case.




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Your name will not be disclosed or connected to this questionnaire beyond the Judge and the
parties in this case. However, if you believe that any of your answers contain private
information that could embarrass you or otherwise seriously compromise your privacy and
wish to request that the Court keep them confidential and not distribute them beyond the Judge
and parties, please indicate the particular question number at the end of the questionnaire.

                              SUMMARY OF THE CASE

The Court is selecting a jury for a trial commencing on Monday, November 29, 2021.
Although it is never possible to predict the length of a trial, currently this trial is expected
to last approximately six weeks.

This is a criminal case. The Defendant, Ghislaine Maxwell, has been charged in an Indictment
with various criminal offenses. The Indictment is not evidence. It simply contains the
charges—referred to as “counts”—that the Government intends to prove to the jury at trial
beyond a reasonable doubt.

The charges in the Indictment stem from allegations that from at least 1994 through 2004, the
Defendant conspired with and aided and abetted Jeffrey Epstein to entice minors to travel to
engage in criminal sexual activity, to transport minors to engage in criminal sexual activity,
and to engage in sex trafficking of a minor.

The Indictment charges the Defendant in 6 counts: Count One of the Indictment charges the
Defendant with conspiring with Jeffrey Epstein and others to entice minors to travel to engage
in sexual activity for which a person can be charged with a criminal offense. Count Two
charges the Defendant with enticing a minor to travel to engage in sexual activity for which a
person can be charged with a criminal offense, and aiding and abetting the same. Count Three
charges the Defendant with conspiring with Epstein and others to transport minors to engage
in sexual activity for which a person can be charged with a criminal offense. Count Four
charges the Defendant with transporting a minor to engage in sexual activity for which a person
can be charged with a criminal offense, and aiding and abetting the same. Count Five charges
the Defendant with participating in a sex trafficking conspiracy. Count Six charges the
Defendant with sex trafficking of a minor, and aiding and abetting the same.

Ms. Maxwell has pled not guilty to all charges. Ms. Maxwell is presumed innocent, and before
she can be found guilty on any charge, the jury must find that the Government has proven each
element of that crime beyond a reasonable doubt.




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                                                                  Juror ID: __________


                                         SCHEDULE

Potential jurors will be called back for further questioning and jury selection from
Tuesday, November 16, 2021, through Friday, November 19, 2021. Your availability
during that week will be required.

The trial will commence on Monday, November 29, 2021. The trial is expected to last
about six weeks. Generally, trial will be held five days per week, Monday through Friday,
from 9:30 a.m. until 5:00 p.m. Trial will not be held on Friday, December 24, 2021
(Christmas Eve Day) and Friday, December 31, 2021 (New Year’s Eve).

If you are selected as a juror, you will be required to be present for the taking of testimony and
evidence for as long as the trial lasts. There are no plans to sequester the jury, which means
you will go home every day after court.

All jury service involves some degree of hardship. Our court and justice system depends on
citizens doing their civic duty to serve as jurors, which involves temporarily putting aside their
regular business for jury service. The Court views service on a jury to be one of the highest
duties a citizen owes to the United States. Mere inconvenience or the usual financial hardship
of jury service will not be sufficient to excuse a prospective juror. You must show
extraordinary personal or financial hardship to be excused from service.




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                                                                Juror ID: __________


              PLEASE ANSWER THE FOLLOWING QUESTIONS:
                                          ABILITY TO SERVE
           Please note: In the event you are excused from service on this jury, you will likely
           not be excused from jury service in general. You will instead be required to report to
           the Court’s Jury Clerk for placement on another panel for another case.
1.         Do you have any unmovable commitments between November 16, 2021, and
           November 19, 2021, which is when jury selection will take place?
                              □ Yes                         □ No
1a.        If yes, please explain (without indicating the name of where you work or the names
           of any family members or friends, or other personal information that might identify
           who you are):




2.         Do you have any unmovable commitments between November 29, 2021, and
           approximately January 15, 2022, which is the estimated length for trial?
                              □ Yes                         □ No
2a.        If yes, please explain (without indicating the name of where you work or the names
           of any family members or friends, or other personal information that might identify
           who you are):




3.         Do you have any international travel plans between now and November 29, 2021?
                              □ Yes                         □ No
4.         Do any circumstances exist such that serving on the jury in this case would entail
           serious hardship or extreme inconvenience?
                              □ Yes                         □ No
4a.        If yes, please briefly describe the serious hardship or extreme inconvenience:




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5.         Do you have any personal commitments that would make it difficult for you to get
           to court by 9:30 a.m., every day of trial, or remain at the courthouse until 5:00 p.m.?
           (Please note, the Court will arrange and provide transportation to and from the
           Courthouse each day for selected jurors).

                              □ Yes                          □ No

5a.        If yes, please explain why you would be unable to get to court by 9:30 a.m. or
           remain until 5:00 p.m.:




6.         Do you have any difficulty reading, speaking, or understanding English?
                              □ Yes                          □ No
7.         Do you have any medical, physical, or mental condition or illness that makes you
           unable to serve on a jury, including difficulty hearing, seeing, reading, or
           concentrating?
                              □ Yes                          □ No
7a.        If yes, please briefly describe the condition or illness. If you believe you could serve
           as a juror if such condition were accommodated in some way, please state the
           accommodation.




8.         Are you taking any medication which would prevent you from giving full attention
           to all the evidence at this trial?
                              □ Yes                   □ No
8a.        If yes, please explain:




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9.         Do you have any religious, philosophical, or other beliefs that would make you
           unable to render a verdict in a criminal case?
                              □ Yes                        □ No

9a.        If yes, please explain:




                    BASIC LEGAL PRINCIPLES AND MEDIA RESTRICTIONS
10.        Under the law, the facts are for the jury to determine and the law is for the Judge to
           determine. You are required to accept the law as the Judge explains it to you even if
           you do not like the law or disagree with it, and you must determine the facts
           according to those instructions. Do you accept this principle, and will you be able to
           follow the Judge’s instructions if selected to serve on this jury?

                               □ Yes                        □ No
10a.       If no, please explain:




11.        The law provides that a defendant in a criminal case is presumed innocent at all
           stages of the trial and is not required to put on any defense at all. The Government
           is required to prove the defendant guilty beyond a reasonable doubt on each charge.
           Do you accept these principles, and will you be able to apply them if selected to
           serve on this jury?

                               □ Yes                        □ No

11a.       If no, please explain:




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12.     The law provides that a defendant in a criminal case has an absolute right not to
        testify, and that a juror cannot hold it against the defendant if she chooses not to
        testify. Do you accept this principle, and will you be able to apply it if selected to
        serve on this jury?

                           □ Yes                           □ No

12a.    If no, please explain:




13.     A juror is required by law to make his or her decision based solely on the evidence
        or lack of evidence presented in Court, and not on the basis of conjecture, suspicion,
        bias, sympathy, or prejudice. Do you accept this principle, and will you be able to
        apply it if selected to serve on this jury?

                           □ Yes                           □ No

13a.    If no, please explain:




14.     Under the law, the question of punishment is for the Court alone to decide, and thus
        the issue of punishment must not enter into your deliberations as to whether the
        defendant is guilty or not guilty as charged. Do you accept this principle, and will
        you be able to apply it if selected to serve on this jury?

                           □ Yes                           □ No

14a.    If no, please explain:




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15.     You may hear testimony in this case that law enforcement officers recovered certain
        evidence from searches. The Court will instruct you that those searches were legal
        and that the evidence obtained from those searches is admissible in this case. Do
        you have any feelings or opinions about searches conducted by law enforcement
        officers, or the use of evidence obtained from searches, that would affect your
        ability to be fair and impartial in this case?
                           □ Yes                         □ No

15a.    If yes, please explain:




16.     You also may hear testimony in this case from expert witnesses. Have you had any
        experiences with experts, or do you have any general feelings about the use of
        experts, that would affect your ability to be fair and impartial in this case?
                           □ Yes                         □ No

16a.    If yes, please explain:




17.     As instructed above, from now and until your jury service is complete, you are
        instructed to avoid all media coverage and not to go on the Internet with regard to
        this case for any purpose. That is, you are forbidden from consuming any news
        media or social media, or any discussion of this case (or of anyone participating in
        the case) outside of the courtroom whatsoever. You also must not discuss this case
        with anyone. This includes your family, friends, spouse, domestic partner,
        colleagues, and co-workers. These instructions apply from now and until you are
        either dismissed from jury selection or chosen as a juror and the trial is complete.
        When we return for the next step in jury selection, the Judge will ask you if you
        have followed this instruction.

        Do you have any reservations or concerns about your ability or willingness to
        follow this instruction?

                           □ Yes                         □ No




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                                                             Juror ID: __________


17a.    If yes, please explain:




                                         PRIOR JURY SERVICE
18.     Have you ever served as a juror in a trial in any court?
                           □ Yes                           □ No

19.     Have you ever at any time served as a member of a grand jury, whether in federal,
        state, county, or city court?
                           □ Yes                           □ No



          EXPERIENCE AS A WITNESS, DEFENDANT, OR CRIME VICTIM
20.     Have you, or has any relative or close friend, ever participated in a state or federal
        court case, whether criminal or civil, as a witness, plaintiff, or defendant?
           □ Yes (self)            □ Yes (friend or family member)                □ No

20a.    If yes, is there anything about that experience that would prevent you from acting as
        a fair and impartial juror in this case?
                           □ Yes                           □ No

20b.    If yes to 20a, please explain:




21.     Have you or any relative or close friend ever been involved or appeared as a witness
        in any investigation by a federal or state grand jury or by a congressional or state
        legislative committee, licensing authority, or governmental agency, or been
        questioned in any matter by any federal, state, or local law enforcement agency?
           □ Yes (self)            □ Yes (friend or family member)                □ No




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21a.    If yes, is there anything about that experience that would prevent you from acting as
        a fair and impartial juror in this case?
                           □ Yes                         □ No

21b.    If yes to 21a, please explain:




22.     Have you, or has any relative or close friend, ever been subpoenaed for any inquiry
        or investigation?
           □ Yes (self)            □ Yes (friend or family member)              □ No

22a.    If yes, is there anything about that experience that would prevent you from acting as
        a fair and impartial juror in this case?
                           □ Yes                         □ No

22b.    If yes to 22a, please explain:




23.     Have you, or has any relative or close friend, ever been arrested or charged with a
        crime?

           □ Yes (self)            □ Yes (friend or family member)              □ No

23a.    If yes, is there anything about that experience that would prevent you from acting as
        a fair and impartial juror in this case?
                           □ Yes                         □ No

23b.    If yes to 23a, please explain:




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24.     Have you, or has any relative or close friend, ever been the subject of any
        investigation or accusation by any grand jury, state or federal, or any other
        investigation?
           □ Yes (self)            □ Yes (friend or family member)               □ No

24a.    If yes, is there anything about that experience that would prevent you from acting as
        a fair and impartial juror in this case?
                           □ Yes                          □ No

24b.    If yes to 24a, please explain:




25.     Have you, or any of your relatives or close friends, ever been a victim of a crime?
           □ Yes (self)            □ Yes (friend or family member)               □ No

25a.    If yes, is there anything about that experience that would prevent you from acting as
        a fair and impartial juror in this case?
                           □ Yes                          □ No

25b.    If yes to 25a, please explain:




26.     Have you, or has any member of your family or any of your close friends—either as
        individuals or in the course of their business affairs—ever been a party to a legal
        action or dispute with the United States, or with any of the officers, departments,
        agencies, or employees of the United States, including the United States Attorney’s
        Office, the FBI, or the NYPD?
           □ Yes (self)            □ Yes (friend or family member)               □ No




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26a.    If yes, is there anything about that experience that would prevent you from acting as
        a fair and impartial juror in this case?
                           □ Yes                         □ No

26b.    If yes to 26a, please explain:




27.     Have you, or has any member of your family, ever had a dispute concerning money
        owed to you by the Government or owed by you to the Government?
           □ Yes (self)            □ Yes (friend or family member)             □ No

27a.    If yes, is there anything about that experience that would prevent you from acting as
        a fair and impartial juror in this case?
                           □ Yes                         □ No

27b.    If yes to 27a, please explain:




        RELATIONSHIP WITH, AND VIEW OF, GOVERNMENT, DEFENSE, AND
                                 OTHERS
28.     Do you or any member of your family or a close friend work in law, law
        enforcement, the justice system, or the courts?
                           □ Yes                         □ No
28a.    If yes, please explain:




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28b.    If yes to 28, would this affect your ability to serve as a fair and impartial juror in
        this case?
                            □ Yes                           □ No
28c.    If yes to 28b, please explain:




29.     Do you know or have any association—professional, business, or social, direct or
        indirect—with any member of the staff of the United States Attorney’s Office for
        the Southern District of New York?
                            □ Yes                           □ No
29a.    If yes, please explain:




29b.    If yes to 29, would this affect your ability to serve as a fair and impartial juror in
        this case?
                            □ Yes                           □ No
29c.    If yes to 29b, please explain:




30.     Do you know or have any association—professional, business, or social, direct or
        indirect—with the Federal Bureau of Investigation, commonly known as the FBI?
                            □ Yes                           □ No
30a.    If yes, please explain:




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30b.    If yes to 30, would this affect your ability to serve as a fair and impartial juror in
        this case?
                            □ Yes                           □ No
30c.    If yes to 30b, please explain:




31.     Do you know or have any association—professional, business, or social, direct or
        indirect—with the New York City Police Department, commonly known as the
        NYPD?
                            □ Yes                           □ No
31a.    If yes, please explain:




31b.    If yes to 31, would this affect your ability to serve as a fair and impartial juror in
        this case?
                            □ Yes                           □ No
31c.    If yes to 31b, please explain:




32.     Do you have any opinion of the U.S. Attorney’s Office for the Southern District of
        New York, the U.S. Attorney Damian Williams, or the former Acting U.S. Attorney
        Audrey Strauss that might make it difficult for you to be a fair and impartial juror in
        this case?

                            □ Yes                           □ No




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32a.    If yes, please explain:




                PERSONAL RELATIONSHIP WITH CASE PARTICIPANTS
33.     The next subset of questions asks whether you or any member of your family or a
        close friend personally knows or has past or present dealings with individuals
        involved in this case. To “personally know” means to have some direct or personal
        knowledge or connection to the following individuals. If you have only heard the
        names through media or social media, for example, that is not personal knowledge.
33a.    Do you or does any member of your family or a close friend personally know or
        have past or present dealings with the Defendant in this case, Ghislaine Maxwell, or
        her family members?

                           □ Yes                         □ No

33b.    Do you or does any member of your family or a close friend personally know or
        have past or present dealings with Jeffrey Epstein?

                            □ Yes                        □ No

33c.    Do you or does any member of your family or a close friend personally know or
        have past or present dealings with the U.S. Attorney for the Southern District of
        New York, Damian Williams, the former Acting U.S. Attorney for the Southern
        District of New York, Audrey Strauss, or anyone else who works for or used to
        work for the U.S. Attorney’s Office for the Southern District of New York?

                             □ Yes                       □ No

33d.    Do you or does any member of your family or a close friend personally know or
        have past or present dealings with any of the Assistant United States Attorneys who
        are prosecuting this case:

               Maurene Comey              □ Yes          □ No
               Alison Moe                 □ Yes          □ No
               Lara Pomerantz             □ Yes          □ No
               Andrew Rohrbach            □ Yes          □ No




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33e.     Do you or does any member of your family or a close friend personally know or
         have past or present dealings with any of the defense attorneys or law firms who are
         representing the Defendant:

                Christian Everdell of Cohen & Gresser LLP                 □ Yes □ No
                Jeffrey Pagliuca of Haddon, Morgan and Foreman, P.C. □ Yes □ No
                Laura Menninger of Haddon, Morgan and Foreman, P.C. □ Yes □ No
                Bobbi Sternheim of Law Offices of Bobbi C. Sternheim □ Yes □ No


33f.     Do you or does any member of your family or a close friend personally know or
         have past or present dealings with the United States District Court Judge who is
         presiding over this case, Alison J. Nathan, or anyone who works on her staff?

                           □ Yes                         □ No

33g.     If you answered “yes” to any of the above sub-questions (33a, 33b, 33c, 33d, 33e,
         or 33f), please explain whom you know, how you know the individual(s), and
         whether your relationship with that person might make it difficult for you to be a
         fair and impartial juror in this case:




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                           KNOWLEDGE OF CASE AND PEOPLE

        This case has been widely reported in the national and local media. There is
        nothing wrong with having heard something about this case. It is important to
        answer all of the following questions truthfully and fully.

34.     Before today, had you read, seen, or heard anything about Ms. Maxwell?
                           □ Yes          □ No           □ Unsure
34a.    If yes or unsure, please state what you remember hearing, and how or from whom
        you may have heard (e.g., a friend, the newspaper, a website, social media). If you
        heard about Ms. Maxwell from a media source, please identify the media source by
        name:




35.     Have you personally formed an opinion about Ms. Maxwell’s guilt or innocence of
        the crimes charged as a result of anything you have heard, read or seen?

                   □ Yes        □ No          □ Unsure

                   □ Not applicable, I have not read/seen/heard about Ms. Maxwell


35a.    If yes or unsure, please summarize your opinion:




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36.     Based on anything that you have read, seen, or heard about Ms. Maxwell, including
        anything about criminal charges against Ms. Maxwell, have you formed any
        opinions about Ms. Maxwell that might make it difficult for you to be a fair and
        impartial juror in this case?
                   □ Yes        □ No          □ Unsure

                   □ Not applicable, I have not read/seen/heard about Ms. Maxwell
36a.    If yes or unsure, please explain why it might be difficult for you to be a fair and
        impartial juror in this case:




37.     Before today, had you read, seen, or heard anything about Jeffrey Epstein?
                   □ Yes           □ No            □ Unsure
37a.    If yes or unsure, please state what you remember hearing, and how or from whom
        you may have heard (e.g., a friend, the newspaper, a website, social media). If you
        heard about Mr. Epstein from a media source, please identify the media source by
        name:




38.     Have you verbally stated or posted your opinion on social media or online about
        Ms. Maxwell or Mr. Epstein?
           □ Yes □ No
           □ Not applicable, I have not read/seen/heard about Mr. Epstein/Ms. Maxwell
38a.    If yes, when and where did you state or post your opinion?




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39.     Based on anything that you have read, seen, or heard about Jeffrey Epstein, have
        you formed any opinions about Mr. Epstein that might make it difficult for you to
        be a fair and impartial juror in this case?
                   □ Yes        □ No          □ Unsure

                   □ Not applicable, I have not read/seen/heard about Mr. Epstein


39a.    If yes or unsure, please explain why it might be difficult for you to be a fair and
        impartial juror in this case:




40.     If you have heard about Jeffrey Epstein, do you think Ms. Maxwell’s alleged
        association with Jeffrey Epstein will make it difficult for you to fairly and
        impartially consider the evidence presented at trial and render a verdict based solely
        on the evidence?

                   □ Yes        □ No          □ Unsure

                   □ Not applicable, I have not read/seen/heard about Ms. Maxwell and/or
                   Jeffrey Epstein

40a.    If yes or unsure, please explain:




41.     Based on anything you have read, seen, or heard about Ms. Maxwell, including
        anything about criminal charges brought against Ms. Maxwell, would you be able to
        follow the Court’s instruction to put that information out of your mind and decide
        this case based only on the evidence presented at trial?
                □ Yes        □ No       □ Unsure

                □ Not applicable, I have not read/seen/heard about Ms. Maxwell




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41a.    If no or unsure, please explain:




                                     NATURE OF CHARGES
42.     During the trial, you will hear evidence alleging sex crimes against underage girls.
        Some of the evidence in this case will involve sexually suggestive or sexually
        explicit conduct. Is there anything about the nature of this case and the accusations
        as summarized at the beginning of this questionnaire that might make it difficult for
        you to be a fair and impartial juror in this case?
                           □ Yes                         □ No


42a.    If yes, please explain:




43.     Do you have any specific views or feelings concerning laws regarding the age at
        which individuals can or cannot consent to sexual activity with other individuals
        that would affect your ability to serve as a fair and impartial juror?
                           □ Yes                         □ No
43a.    If yes, please explain:




44.     Do you have any opinion about the enforcement of the federal sex trafficking laws
        or the federal laws concerning sex crimes against minors that might prevent you
        from being fair and impartial in this case?
                           □ Yes                         □ No



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44a.    If yes, please explain:




45.     Have you or a family member ever supported, lobbied, petitioned, protested, or
        worked in any other manner for or against any laws, regulations, or organizations
        relating to sex trafficking, sex crimes against minors, sex abuse, or sexual
        harassment?
                           □ Yes                         □ No


45a.    If yes, please explain when and what you or your family member did:




45b.    If your answer to 45 was yes, do you believe that this would affect your ability to
        serve fairly and impartially as a juror in this case?
                           □ Yes                         □ No


45c.    If yes to 45b, please explain:




46.     The witnesses in this case may include law enforcement witnesses. Would you have
        any difficulty assessing the credibility of a law enforcement officer just like you
        would any other witness?
                           □ Yes                         □ No
46a.    If yes, please explain:




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47.     Witnesses in this case may testify claiming sexual abuse or sexual assault. Would
        you have any difficulty assessing the credibility of a witness claiming sexual assault
        or abuse just like you would any other witness?

                           □ Yes                         □ No


47a.    If yes, please explain:




48.     Have you or a friend or family member ever been the victim of sexual harassment,
        sexual abuse, or sexual assault? (This includes actual or attempted sexual assault or
        other unwanted sexual advance, including by a stranger, acquaintance, supervisor,
        teacher, or family member.)

           □ Yes (self)            □ Yes (friend or family member)              □ No


48a.    If yes, without listing names, please explain:




48b.    If your answer to 48 was yes, do you believe that this would affect your ability to
        serve fairly and impartially as a juror in this case?
                           □ Yes                         □ No


48c.    If yes to 48b, please explain:




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49.     Have you or a friend or family member ever been accused of sexual harassment,
        sexual abuse, or sexual assault? (This includes both formal accusations in a court of
        law or informal accusations in a social or work setting of actual or attempted sexual
        assault or other unwanted sexual advance, including by a stranger, acquaintance,
        supervisor, teacher, or family member.).

           □ Yes (self)            □ Yes (friend or family member)              □ No

49a.    If yes, without listing names, please explain:




49b.    If your answer to 49 was yes, do you believe that this would affect your ability to
        serve fairly and impartially as a juror in this case?
                           □ Yes                         □ No


49c.    If yes to 49b, please explain:




50.     Is there any other experience that you or anyone close to you has had that may
        affect your ability to serve fairly and impartially as a juror in this case?

                           □ Yes                         □ No

50a.    If yes, please explain:




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                                      CLOSING QUESTION
51.     Do you wish for any particular answers to remain confidential and to not go beyond
        the Judge, counsel, and the Defendant, because the answer would embarrass you or
        otherwise seriously compromise your privacy?

                           □ Yes                        □ No
        If yes, please list which question number(s):




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                                    DECLARATION


I, Juror Number ____ declare under penalty of perjury that the foregoing answers set forth in
this Jury Questionnaire are true and correct to the best of my knowledge and belief. I have not
discussed my answers with others, or received assistance in completing the questionnaire.

                                                  Signed this _____ day of November, 2021




DO NOT WRITE YOUR NAME. PLEASE SIGN USING YOUR JUROR NUMBER.




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You may use these pages to finish any answers that you could not fit in the spaces
provided above. If you write anything below, please indicate the number of the relevant
question.




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